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                                                                   1                                         EXHIBIT A
                                                                   2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                                                   3

                                                                   4   I, _____________________________ [print or type full name], of
                                                                   5   _________________ [print or type full address], declare under penalty of perjury
                                                                   6   that I have read in its entirety and understand the Stipulated Protective Order that
                                                                   7   was issued by the United States District Court for the Central District of California
                                                                   8   on [date] in the case of Live Eyewear, Inc. v. Biohacked, Inc., Case No. CV 19-
                                                                   9   0461 FMO (PLAx). I agree to comply with and to be bound by all the terms of this
                                                                  10   Stipulated Protective Order and I understand and acknowledge that failure to so
                                                                  11   comply could expose me to sanctions and punishment in the nature of contempt. I
HILL, FARRER & BURRILL LLP



                             LOS ANGELES, CALIFORNIA 90071-3147
                              ONE CALIFORNIA PLAZA, 37TH FLOOR
                               A LIMITED LIABILITY PARTNERSHIP


                                   300 SOUTH GRAND AVENUE




                                                                  12   solemnly promise that I will not disclose in any manner any information or item
                                      ATTORNEYS AT LAW




                                                                  13   that is subject to this Stipulated Protective Order to any person or entity except in
                                                                  14   strict compliance with the provisions of this Order. I further agree to submit to the
                                                                  15   jurisdiction of the United States District Court for the Central District of California
                                                                  16   for the purpose of enforcing the terms of this Stipulated Protective Order, even if
                                                                  17   such enforcement proceedings occur after termination of this action. I hereby
                                                                  18   appoint __________________________ [print or type full name] of
                                                                  19   __________________________________ [print or type full address and telephone
                                                                  20   number] as my California agent for service of process in connection with this action
                                                                  21   or any proceedings related to enforcement of this Stipulated Protective Order.
                                                                  22   Date: ______________________________________
                                                                  23   City and State where sworn and signed: _________________________________
                                                                  24

                                                                  25   Printed name: _______________________________
                                                                  26

                                                                  27   Signature: __________________________________
                                                                  28   HFB 2088864.2 B4162002

                                                                                                                  - 17 -
                                                                                                  [PROPOSED] STIPULATED PROTECTIVE ORDER
